      Case 7:18-cv-00338 Document 22 Filed in TXSD on 12/14/18 Page 1 of 3
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                                                                                                           t,
                         IN THE IJNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                                F=
                                   MCALLEN DIVISION                                                        8Ft-
                                                                                                               m
                                                                                                               z,
UNITED STATES OF AMERICA,                               {i
                                                        $
                              PIointiff,                $
                                                        $
                                                        $             CASE   NO.   7:18-CV-338
                                                        $
 27.36 ACRES OF LAND, MORE OR                           $
 LESS, SITUATE IN HIDALGO                               $
 COUNTY, STATE OF TEXAS; AND                            $
 HEIRS OF ROMULO CAVAZOS. ET AL.,                       $
                                                        $
                           Defendants                   $



                       W,\IVER OF SERVICE OF JUDICIAL PROCESS


                         TO      MEGAN EYES
                                 Assistant United States Aftomey
                                 1701 W. Bus. Highway 83, Suite 600
                                 McAllen, Texas 78501

          I acknowledge receipt of your request to waive service ofjudicial process in this action

along with a copy of the Notice of Condemnation, two copies of this waiver form, and a self-

addressed postage-free envelope that       I can use to retum one signed copy ofthe waiver to you, at

no cost to me.

          l, or the entity on whose behalfl am acting, agree to avoid the costs associated with formal

service   ofjudicial process in the manner provided by Federal Rules of Civil Procedure 4 and 7l   .   I   .



          I understand that I, or the entity on whose behalf I am acting, will retain all defenses or

objections to the lawsuit, the court's jurisdiction, and the venue ofthe action, but that I waive any

objections to a defect in the Notice of Condemnation or in the service thereof.



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                                            llaiver of Service ofJP
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       I understand that I, or the entity on whose behalf I am acting, pursuant to Federal Rule            of

Civil Procedure 71.1, may file a notice of     appearance      if there is no objection or defense to the

taking ofthe condemned lands. In the alternative, ifthere is an objection or defense to said taking,

I, or the entity on whose behalf I am acting, must serve an answer upon plaintiffs attomey at the

address herein designated within twenty-one (21) days after being served with the Notice                    of

Condemnation. I further acknowledge that the answer must identify the property in which I, or the

entity on whose behalf I am acting, claim an interest, state the nature and extent of the interest

claimed, and state all objections or defenses to the taking.

       I, or the entity on whose behalf I am acting, understand that a failure to serve an answer

within twenty-one   (21 ) days shall constitute a consent to the taking and to the   authority ofthe court

to proceed to hear the action and   fixjust compensation,     and shall constitute a waiver   ofall   defenses

and objections not so presented.

       I further understand that at the trial of the issue ofjust compensation, whether or not I, or

the entity on whose behalfl am acting, have filed an answer or served a notice of appearance, I

may present evidence as to the amount ofjust compensation to be paid for the property acquired

herein and I may share in the distribution ofthe award for compensation.




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                                          llaiver of Service ofJP
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                   By:                           a"(y
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                         DATE

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